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    3. Confirmation Hearings.

            a. Confirmation hearings will be continued beyond the initial setting only for good cause shown. A
               motion for continuance shall be filed setting forth the basis of the cause for the requested
               continuance. The chapter 13 Trustee is not authorized to grant a continuance of the confirmation
               hearing. Only the Court may grant a continuance of the confirmation hearing.

            b. Absent exceptional circumstances, the hearing on confirmation of the debtor(s) plan will not be
               continued to a date that is after 180 days after the commencement of the chapter 13 case.

            c. At least 5 days before confirmation, the chapter 13 Trustee shall submit a recommendation (which
               may be in summary chart form for all cases set for confirmation on a particular date) as to whether
               plans should be confirmed. The Court will not be bound by the chapter 13 Trustee's recommendation
               for or against confirmation. If the chapter 13 Trustee has recommended in favor of confirmation and
               if there are no objections to be considered at confirmation, the debtor(s) and debtor(s)' counsel need
               not attend. If the Court determines that a hearing is required on a plan for which confirmation is
               recommended by the trustee and on which no other objections were filed, the hearing will be
               rescheduled with notice to the debtor(s) and debtor(s)' counsel. If the chapter 13 Trustee has not
               recommended confirmation, the debtor(s) and debtor(s)' counsel must attend the hearing and meet the
               debtor(s)' statutory confirmation burden, except that attendance in the circumstances set forth in §7,
               §8, §9(b) and §9(c) below shall be according to those sections.

    4. Parties Required to Attend Hearings. This section applies to hearings that are set on the chapter 13
       trustee's scheduled panel.
            a. If a matter has been resolved concerning a motion or an objection, the parties may designate counsel
               for one of the settling parties to announce the settlement. Other counsel may, but are not required, to
               attend. If no person announces the settlement, the motion or objection may be denied for want of
               prosecution.

            b. If the Court declines to accept the announced agreement, the matter may be continued until the next
               chapter 13 panel date or the Court may make another disposition. All parties to the objection (i.e., the
               objecting party, the debtor(s) and the chapter 13 Trustee) must attend the continued hearing.

    5. Tax Transcripts. The Internal Revenue Service must send a tax transcript to the chapter 13 trustee, the
       debtors and the debtor's counsel, with delivery to occur not later than 7 days prior to the initial date set for the
       §341 meeting of creditors.

    6. Service of this Order. A copy of this Order shall promptly be served by the Clerk on parties in interest,
       including the debtor(s) and debtor(s)' counsel and the United States Internal Revenue Service. The Internal
       Revenue Service shall be served at the addresses provided by them from time−to−time to the Clerk.

THIS ORDER IS EFFECTIVE, IN EACH CASE, ON THE DATE THE ORDER IS ENTERED IN THAT
CASE.

ISSUED AND ENTERED ON 12/6/13
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                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS


In Re: Maria Cruz Benavides
       Debtor                                            Case No.: 13−50223
                                                         Chapter: 13



                  INITIAL ORDER OUTLINING DEBTORS' INITIAL RESPONSIBILITIES

      The debtor(s) are ordered to:
     1. Make all payments due to the chapter 13 trustee. The first payment is due not later than 30 days after the
        petition date.


     2. File a proposed plan within 15 days, unless the plan was filed with the petition.

     3. File a proposed Wage Order, Order for EFT Payments (online banking), or Order for ACH Payments in
        compliance with Local Rule 1007(d).


     4. File all schedules and the statement of financial affairs within 15 days, unless these documents were filed
        with the petition.

     5. Attend the § 341 meeting of creditors as scheduled by the chapter 13 trustee.


     6. Attend the debtor education seminar within 45 days.

     7. Immediately file all delinquent tax returns.

     8. Comply with all Court orders.

      Failure to comply with this order is likely to result in a dismissal of this bankruptcy case. It may also result in a
prohibition against the filing of additional bankruptcy cases or a finding that the debtor(s) are in contempt of court.




Issued and Entered on 12/6/13
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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS


In Re: Maria Cruz Benavides
       Debtor                                           Case No.: 13−50223
                                                        Chapter: 13



   ORDER AUTHORIZING USE OF VEHICLES PURSUANT TO §363 AND PROVIDING ADEQUATE
                          PROTECTION TO LIEN HOLDERS

     1. The debtor(s) are authorized to use their vehicle(s) pursuant to §363 of the Bankruptcy Code, conditioned on
        the following:
             A. The debtor(s) must maintain insurance on the vehicle(s) in the amounts and with the coverages
                 pertaining to the vehicle itself required by the contract with any holder of a pre−petition lien on the
                 vehicle(s).

             B. Proof of insurance must be provided within 5 days of receipt of written request by the holder of a
                vehicle lien.


             C. The debtors must timely make all required payments to the chapter 13 trustee.


            D. Not later than the date on which a plan is filed, file a proposed (x) wage order; (y) Order for EFT
               Payments (Online Banking) and Debtor's Certification; or (z) Order for ACH Payments and Debtor's
               Certification, each in the form approved by the Court.

     2. As additional adequate protection for the interest of the lien holder(s), the lien holder(s) are granted a claim
        pursuant to §503(b)(1). This lien is intended to be of the type described in §507(b) of the Bankruptcy code.
        The amount of the claim is equal to 1.25% of the value of the vehicle as of the petition date. The adequate
        protection payments shall be calculated by the chapter 13 trustee based on the average of the NADA retail
        and wholesale values (without options or mileage adjustments), unless the Court orders otherwise.


     3. The debtor(s) or any other party in interest may object to this order within 30 days of its entry. If a timely
        objection is filed, an evidentiary hearing will be conducted at the next chapter 13 panel. The objecting party is
        ordered to provide notice of the hearing date, attend the hearing and present evidence in support of the
        objection.




Issued and Entered on 12/6/13
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                                               United States Bankruptcy Court
                                                Southern District of Texas
In re:                                                                                                     Case No. 13-50223-drj
Maria Cruz Benavides                                                                                       Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0541-5                  User: rsmiadi                      Page 1 of 1                          Date Rcvd: Dec 06, 2013
                                      Form ID: io13cm                    Total Noticed: 12


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 08, 2013.
db            +Maria Cruz Benavides,    211 Tulip Circle,   Laredo, TX 78046-5114
8677297       +Bank of America,    Attn: Correspondence Unit/CA6-919-02-41,    PO Box 5170,
                Simi Valley, CA 93062-5170
8677298       +Comenity Bank/The Sports Authority (TSA),    Attention: Bankruptcy,    P.O. Box 182686,
                Columbus, OH 43218-2686
8677301       +ER Solutions/Convergent Outsourcing, INC,    P.O. Box 9004,    Renton, WA 98057-9004
8677302       +Financial Corporation Of America,    Attn: Bankruptcy,    P.O. Box 203500,   Austin, TX 78720-3500
8677303        Maverick Finance,    c/o Security Finance,   Spartanburg, SC 29304
8677304       +Medical Data Systems I,    2001 9th Ave.,   Suite 312,    Vero beach, FL 32960-6413
8677305     ++PORTFOLIO RECOVERY ASSOCIATES LLC,     PO BOX 41067,    NORFOLK VA 23541-1067
              (address filed with court: Portfolio Recovery,     Attn: Bankruptcy,    P.O. Box 41067,
                Norfolk, VA 23541)
8677306       +Santander Consumer Usa,    8585 N Stemmons Fwy Ste 1100-n,    Dallas, TX 75247-3822

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
8677299      +E-mail/Text: bankruptcy_notifications@ccsusa.com Dec 06 2013 21:45:56      Credit Collections Svc,
               P.O. Box 773,   Needham, MA 02494-0918
8677300      +E-mail/Text: bknotice@erccollections.com Dec 06 2013 21:45:21      Enhanced Recovery Corp,
               Attention: Client Services,   8014 Bayberry Rd.,    Jacksonville, FL 32256-7412
8680092       E-mail/Text: cio.bncmail@irs.gov Dec 06 2013 21:44:25
               INTERNAL REVENUE SERVICE (Chapter 13 Notice),    P O Box 7346,   Philadelphia PA 19101-7346
                                                                                             TOTAL: 3

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
8677307         Toledo Finance
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 08, 2013                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 6, 2013 at the address(es) listed below:
              Fernando D Gutierrez, Jr   on behalf of Debtor Maria Cruz Benavides fdgtzlegal@stx.rr.com,
               fernandodgutierr@stx.rr.com
              US Trustee   USTPRegion07.HU.ECF@USDOJ.GOV
              William E. Heitkamp   heitkamp@ch13hou.com
                                                                                            TOTAL: 3
